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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL

 Case No.       SACV 21-00014-CJC (KESx)                            Date       January 12, 2021
 Title          Rafael Arroyo v. JWMFE Anaheim, LLC et al



PRESENT:        HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

                    Cheryl Wynn                                        None Present
                    Deputy Clerk                                       Court Reporter
           Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                    None Present                                       None Present

PROCEEDINGS:           (IN CHAMBERS) ORDER TO SHOW CAUSE RE
                       DISMISSAL FOR LACK OF PROSECUTION (REMOVAL)


        This action was removed to this Court on January 4, 2021. Pursuant to Rule 81 of the
Federal Rules of Civil Procedure, a response to the Complaint is due the later of 21 days after
receiving a copy of the initial pleading, 21 days after being served with the summons, or 7 days
after the notice of removal is filed. Therefore, a response to the Complaint was due by
January 11, 2021; no response has been filed. Accordingly, Plaintiff is ordered to show cause
in writing on or before January 19, 2021 why this action should not be dismissed for lack of
prosecution.

       Pursuant to Rule 78 of the Federal Rules of Civil Procedure, the Court finds that this
matter is appropriate for submission without oral argument. Therefore, the Order to Show
Cause will stand submitted upon the filing of an appropriate response to this Order, the filing of
a response to the Complaint by Defendant, or an application for the entry of default pursuant to
Rule 55 of the Federal Rules of Civil Procedure.

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                                                    Initials of Deputy Clerk    cw




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